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                                                                    7 400 S. La Brea, LLC, Daryoush Dayan, Kamran
                                                                      Gharibian and Michael D. Smith
                                                                    8

                                                                    9
                                                                                                        UNITED STATES BANKRUPTCY COURT
                                                                   10
GREENBERG GLUSKER FIELDS CLAMAN




                                                                                       CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
                                                                   11
                             2049 Century Park East, Suite 2600




                                                                   12 In re                                              Case No. 2:13-bk-14135-RK
                               Los Angeles, California 90067
       & MACHTINGER LLP




                                                                   13 ART & ARCHITECTURE BOOKS OF THE                    Chapter 11
                                                                      21st CENTURY,
                                                                   14                                                    Adv No. 2:15-ap-01679-RK
                                                                                 Debtors.
                                                                   15                                                    Consolidated with Adv. No. 2:14-ap-01771-RK

                                                                   16 SAM LESLIE, PLAN AGENT FOR ART &                   SECOND STIPULATION AND REQUEST
                                                                      ARCHITECTURE BOOKS OF THE 21st                     TO FURTHER EXTEND DEADLINE TO
                                                                   17 CENTURY,                                           COMPLETE EXPERT DISCOVERY, TO
                                                                                                                         RE-SET EXPERT DEPOSITION DATES
                                                                   18                      Plaintiff,                    AND TO SET A DEADLINE FOR
                                                                                 vs.                                     SUMMARY JUDGMENT MOTIONS
                                                                   19
                                                                      ACE GALLERY NEW YORK
                                                                   20 CORPORATION, a California corporation; et          No Hearing Set
                                                                      al.
                                                                   21
                                                                                Defendants.
                                                                   22

                                                                   23 AND RELATED COUNTERCLAIMS AND
                                                                      CROSSCLAIMS
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                                                                    1            This Second Stipulation and Request to Further Extend Deadline to Complete Expert

                                                                    2 Discovery (this “Stipulation”) is entered into among: 400 S. La Brea LLC (“400 SLB”) and

                                                                    3 Defendants Daryoush Dayan (“Dayan”), Kamran Gharibian (“Gharibian”) and Michael D. Smith

                                                                    4 (“Smith” and, collectively with 400 SLB, Dayan, and Gharibian, the “400 SLB Defendants”),

                                                                    5 Cathay Bank (“Cathay”), and Sam Leslie (the “Plan Agent”), in his capacity as the Plan Agent, of

                                                                    6 Debtor Art & Architecture Books of the 21st Century (collectively, the "Parties"). This Stipulation

                                                                    7 is based upon the following facts:

                                                                    8            A.        The following experts designated by the Parties have served expert reports in this

                                                                    9 adversary proceeding pursuant to F.R.C.P. 26(a)(2)(B):

                                                                   10                          Plan Agent- Robert S. Marticello and Jennifer Ziegler;
GREENBERG GLUSKER FIELDS CLAMAN




                                                                   11                          For 400 S. La Brea- Anthony E. Fitzgerald and Jason A. Engel;
                             2049 Century Park East, Suite 2600




                                                                   12                      
                               Los Angeles, California 90067




                                                                                                Cathay Bank – Nicholas R. Troszak.
       & MACHTINGER LLP




                                                                   13            B.        Douglas Chrismas, Jennifer Kellen and Raymond Pettibon, other defendants in this

                                                                   14 case, have not designate any experts pursuant to F.R.C.P. 26(a)(2)(B).

                                                                   15            C.        On February 14, 2022, the Parties filed their Stipulation and Request to Further

                                                                   16 Extend Deadline to Complete Expert Discovery and to Set Expert Deposition Dates [Docket No.

                                                                   17 1241] (the “First Stipulation”), which was approved by order entered by the Court on February 15,

                                                                   18 2022 (the “First Order”).

                                                                   19            D.        Pursuant to the First Stipulation and First Order, no later than February 18, 2022

                                                                   20 the Parties were required to provide available deposition dates for their respective designated

                                                                   21 experts within the following time windows:

                                                                   22                          Robert S. Marticello, between February 21 and February 28;
                                                                   23                          Anthony E. Fitzgerald, between March 8 to March 12;
                                                                   24                          Jennifer Ziegler, between March 14 and March 18;
                                                                   25                          Jason E. Engel, between April 11 and April 15; and
                                                                   26                          If the Plan Agent notifies Cathay Bank that it does intend to take the deposition
                                                                   27                           of Nicholas R. Troszak, then Cathay Bank will make Mr. Troszak available

                                                                   28                           between April 18 and April 25.

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                                                                    1            E.        Since the filing of the First Stipulation, only Mr. Marticello, Ms. Ziegler and Mr.

                                                                    2 Engel were identified as experts to be deposed within the applicable windows for each.

                                                                    3            F.        As to Mr. Engel, the Parties agreed to a deposition window of April 11 and April

                                                                    4 15, but no specific date has yet been selected by the Plan Agent.

                                                                    5            G.        As to Ms. Ziegler, the Parties agreed to a deposition date of April 18, 2022.

                                                                    6 Following the selection of this date, 400 SLB issued a subpoena on Ms. Ziegler to compel her

                                                                    7 attendance (the “Ziegler Subpoena”). After counsel for the Plan Agent did not respond to requests

                                                                    8 to accept service of the Ziegler Subpoena, 400 SLB successfully served the Ziegler Subpoena on

                                                                    9 Ms. Ziegler personally on March 11, 2022 via process server.

                                                                   10            H.        As to Mr. Marticello, no date was timely provided by the Plan Agent by the
GREENBERG GLUSKER FIELDS CLAMAN




                                                                   11 February 18, 2022 deadline under the First Stipulation and First Order, and therefore 400 SLB
                             2049 Century Park East, Suite 2600




                                                                   12 selected March 10, 2022 for Mr. Marticello’s deposition and issued a subpoena to compel Mr.
                               Los Angeles, California 90067
       & MACHTINGER LLP




                                                                   13 Marticello’s attendance (the “Marticello Subpoena”). After counsel for the Plan Agent did not

                                                                   14 respond to requests to accept service of the Marticello Subpoena, 400 SLB attempted to personally

                                                                   15 serve Mr. Marticello, but was unsuccessful. With no response from the Plan Agent’s counsel and

                                                                   16 the unsuccessful service of the Marticello Subpoena, the scheduled deposition of Mr. Marticello

                                                                   17 did not go forward.

                                                                   18            I.        As to Mr. Fitzgerald, no specific date was selected by the Plan Agent.

                                                                   19            J.        The Parties have in the interim been discussing possible settlement and in

                                                                   20 connection therewith discussed re-scheduling the depositions of Mr. Marticello, Ms. Ziegler and

                                                                   21 Mr. Engel, as well as the deadline to file summary judgment motions, and have reached an

                                                                   22 agreement to modify certain terms of the First Stipulation and First Order, as set forth herein.

                                                                   23            NOW, THEREFORE, IT IS STIPULATED AND AGREED as follows:

                                                                   24                 1. The deposition of Mr. Marticello shall be held via remote connection on April 8,
                                                                   25 2022 starting at 9:00 a.m. (“Rescheduled Marticello Deposition”). The Marticello Subpoena is

                                                                   26 deemed to apply to the Rescheduled Marticello Deposition, without further action required of 400

                                                                   27 SLB, and counsel for the Plan Agent hereby agrees to accept service of the Marticello Subpoena

                                                                   28 on Mr. Marticello’s behalf.

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                                                                    1                 2. The deposition of Ms. Ziegler shall be held via remote connection on April 20,

                                                                    2 2022 starting at 9:00 a.m. (“Rescheduled Ziegler Deposition”). The Ziegler Subpoena is deemed

                                                                    3 to apply to the Rescheduled Ziegler Deposition, without further action required of 400 SLB, and,

                                                                    4 to the extent necessary, counsel for the Plan Agent hereby agrees to accept service of the Ziegler

                                                                    5 Subpoena on Ms. Ziegler’s behalf.

                                                                    6                 3. The deposition of Mr. Engel shall be held via remote connection on a date between

                                                                    7 May 9-13, 2022, starting at 9:00 a.m., with such date to be specifically determined within that

                                                                    8 period, by notice from the Plan Agent to be given on or before April 22, 2022, (“Rescheduled

                                                                    9 Engel Deposition”). Should the Plan Agent opt to issue a subpoena to compel Mr. Engel’s

                                                                   10 attendance to the Rescheduled Engel Deposition, counsel for 400 SLB will accept service.
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                                                                   11                 4. The Plan Agent reserves its rights to take deposition of Mr. Fitzgerald
                             2049 Century Park East, Suite 2600




                                                                   12 and 400 SLB reserves its rights to oppose same.
                               Los Angeles, California 90067
       & MACHTINGER LLP




                                                                   13                 5. The deadline for completion of all discovery in this adversary proceeding shall be

                                                                   14 May 16, 2022.

                                                                   15            6.        The deadline to file all motions for summary judgement or partial summary

                                                                   16 judgment, under FRCP 56 (as applied in Bankruptcy Rule 7056 to this adversary proceeding),

                                                                   17 shall be June 30, 2022.

                                                                   18            7.        Except as modified herein, the terms of the First Stipulation and First Order remain

                                                                   19 binding on the Parties.

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                                                                    1 DATED: March __, 2022                   GREENBERG GLUSKER FIELDS CLAMAN &
                                                                                                              MACHTINGER LLP
                                                                    2

                                                                    3
                                                                                                               By:
                                                                    4                                                BRIAN L. DAVIDOFF
                                                                                                                     KEITH PATRICK BANNER
                                                                    5                                                Attorneys for 400 S. La Brea, LLC, Daryoush
                                                                                                                     Dayan, Kamran Gharibian, Michael D. Smith
                                                                    6

                                                                    7
                                                                        DATED: March __, 2022                 THOMAS, ALEXANDER, FORRESTER &
                                                                    8                                         SORENSEN LLP

                                                                    9
                                                                                                               By:
                                                                   10
GREENBERG GLUSKER FIELDS CLAMAN




                                                                                                                     STEVEN THOMAS
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                                                                                                                     Attorneys for Sam S. Leslie, Plan Agent
                             2049 Century Park East, Suite 2600




                                                                   12
                               Los Angeles, California 90067
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                                                                   13

                                                                   14 DATED: March 24, 2022                   BIRD, MARELLA, BOXER, WOLPERT, NESSIM,
                                                                   15                                         DROOKS, LICENBERG & RHOW, P.C.

                                                                   16                                          By:
                                                                   17                                                EKWAN E. RHOW
                                                                                                                     ELLIOT C. HARVEY SCHATMEIER
                                                                   18                                                Attorneys for Cathay Bank

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2049 Century Park East, Ste. 2600 Los Angeles, CA 90067

                                                                      SECOND STIPULATION AND REQUEST TO
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 FURTHER EXTEND DEADLINE TO COMPLETE EXPERT DISCOVERY, TO RE-SET EXPERT DEPOSITION DATES
________________________________________________________________________________________________
________________________________________________________________________________________________
 AND TO SET A DEADLINE FOR SUMMARY JUDGMENT MOTIONS
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
03/24/2022          I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                       ✔ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________,
              03/24/2022        I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
                                                                                                  03/24/2022
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________,     I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
 Via Messenger
 The Honorable Robert N. Kwan
 United States Bankruptcy Court
 Central District of California
 Edward R. Roybal Federal Building and Courthouse
 255 E. Temple Street, Ste. 1682                                            Service information continued on attached page
 Los Angeles, CA 90012
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

03/24/2022         Julie King                                                                  /s/ Julie King
 Date                           Printed Name                                                    Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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